Case 18-51344-lrc          Doc 8      Filed 01/30/18 Entered 01/30/18 12:39:19                       Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                                     )
  In re                                              )     Chapter 13
                                                     )
  STEPHANIE ROCHELLE BENNETT,                        )     Case No. 18-51344-lrc
  Debtor(s)                                          )




                    REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
              FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

  PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

  Bank (Walmart MC [Last four digit of account:8696]), a creditor in the above-captioned chapter 13 case,

  requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy

  Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

  (as amended, the Bankruptcy Code), that all notices given or required to be given and all papers served or

  required to be served in this case be also given to and served, whether electronically or otherwise, on:


              Synchrony Bank
              c/o PRA Receivables Management, LLC
              PO Box 41021
              Norfolk, VA 23541
              Telephone: (877) 829-8298
              Facsimile: (757) 351-3257
              E-mail: claims@recoverycorp.com


  Dated: Norfolk, Virginia
  January 30, 2018
                                                         By: /s/ Valerie Smith
                                                         Valerie Smith
                                                         c/o PRA Receivables Management, LLC
                                                         Senior Manager
                                                         PO Box 41021
                                                         Norfolk, VA 23541
                                                         (877) 829-8298

  Assignee Creditor: Walmart MC [Last four digit of account:8696]
